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     Attorneys for Plaintiff Steve Cortner
 9
                                IN THE UNITED STATES DISTRICT COURT
10                            FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11
     STEVE C. CORTNER,                                    ) Case No. 12-cv-01732-H-WVG
12                                                        )
                                             Plaintiff,   )      NOTICE OF DISMISSAL OF ALL
13                                                        ) PARTIES WITH PREJUDICE
             vs.                                          )
14                                                        )
     ACB RECOVERY,                                        )
15                                                        )
                                             Defendant.   )
16
17   DISMISSAL
18           COMES NOW the Plaintiff and dismisses her Complaint with prejudice pursuant to Fed. Rule
19   Civ. Proc. Rule 41(a) (ii) at Plainitff’s cost..
20
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22
23   Dated September 26, 2012
24                                                             s/ Patric A. Lester
                                                               U




                                                               Patric A. Lester
25                                                             Attorney for Plaintiff,
26                                                             Steve Cortner

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                                    NOTICE OF DISMISSAL OF ALL PARTIES WITH PREJUDICE 12-CV-01732-H-WVG
      Case 3:12-cv-01732-H-WVG Document 4 Filed 09/26/12 PageID.16 Page 2 of 2



 1   Re: Cortner v. ACB Recovery,
     Case No.12-cv-01732-H-WVG
 2   United States District Court, Southern District of California

 3                                             CERTIFICATE OF SERVICE
     I, the undersigned, declare as follows:
 4
     I am over the age of eighteen years and not a party to the case. I am employed in the County of San Diego,
 5   California where the mailing occurs: My business address is 5694 Mission Center Road, #385, San Diego, CA
     92108. I am readily familiar with our business' practice of collecting, processing and mailing of correspondence
 6   and pleadings for mail with the United Postal Service.

 7   On the date below I electronically filed with the Court through its CM/ECF program and served through the
     same program the NOTICE OF DISMISSAL OF ALL PARTIES WITH PREJUDICE on the interested parties
 8   in said case addressed as follows:

 9   ACB Recovery
     Paul James
10   PO Box 177
     Cincinnati, OH 45201
11   paul.james@acb-recovery.com
     Representing ACB Recovery
12
13           BY MAIL, by placing a copy thereof in a separate envelope for each addressee named above, that is not
            registered as a CM/ECF user, addressed to each addressee respectively, and then sealed each envelope
14          and, with the postage thereon fully prepaid, deposited each in the United States mail at San Diego,
            California in accordance with our business' practice.
15
16   I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
     Executed on September 26, 2012, at San Diego, California.
17
                                                                        s/ Patric A. Lester
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18                                                                      Patric A. Lester
19                                                                      Attorney for Plaintiff,
                                                                        Steve Cortner
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                                     NOTICE OF DISMISSAL OF ALL PARTIES WITH PREJUDICE 12-CV-01732-H-WVG
